Case 2:16-cv-01356-FMO-JC Document 14-1 Filed 05/10/16 Page 1 of 9 Page ID #:106



   1   MICHAEL N. WESTHEIMER, State Bar No. 178938
   2   michael.westheimer@ogletreedeakins.com
       RACHEL J. MOROSKI, State Bar No. 286805
   3   rachel.moroski@ogletreedeakins.com
   4   OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
       Steuart Tower, Suite 1300
   5   One Market Plaza
   6   San Francisco, CA 94105
       Telephone: 415.442.4810
   7
       Facsimile: 415.442.4870
   8
       Attorneys for Defendant
   9
       GE BETZ, INC.
  10

  11                        UNITED STATES DISTRICT COURT

  12                      CENTRAL DISTRICT OF CALIFORNIA

  13

  14
       ROBERT ROMERO, an individual,         Case No. 2:16-cv-01356-FMO-JCx

  15               Plaintiff,                DEFENDANT GE BETZ, INC.’S
                                             MEMORANDUM OF POINTS AND
  16         v.                              AUTHORITIES IN SUPPORT OF
                                             MOTION TO COMPEL
  17   GE BETZ, INC.; DOES 1 through 50,     ARBITRATION
       inclusive,
  18                                         Hearing Date:   June 16, 2016
                   Defendant.                Time:           10:00 a.m.
  19
                                             Courtroom:      22 – 5th Floor
  20                                         Judge:          Hon. Fernando M. Olguin
  21
                                             Complaint Filed: January 25, 2016
  22                                         Trial Date:      April 4, 2017

  23

  24

  25

  26

  27

  28
                                                  Case No. 2:16-cv-01356-FMO-JCx
         DEFENDANT GE BETZ, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                    SUPPORT OF MOTION TO COMPEL ARBITRATION
Case 2:16-cv-01356-FMO-JC Document 14-1 Filed 05/10/16 Page 2 of 9 Page ID #:107



   1   I.       INTRODUCTION
   2            In the instant action, Robert Romero (“Plaintiff”) brings nine individual wage
   3   and hour claims against his current employer, GE Betz, Inc. (“GE Betz” or “the
   4   Company”). Plaintiff’s claims should not proceed in this Court because they are
   5   subject to a binding arbitration agreement.
   6            Plaintiff agreed that his employment was subject to the Company’s Alternative
   7   Dispute Resolution Procedure (“ADR Procedure”), which expressly requires him to
   8   submit his claims at issue in this action to binding arbitration. In January 2011,
   9   Plaintiff affirmatively acknowledged that his employment was subject to the ADR
  10   Procedure (including certain amendments that were implemented at that time),
  11   confirming he is bound by the ADR Procedure as a condition of his employment
  12   with the Company.
  13            The Federal Arbitration Act (“FAA”), 9 U.S.C. § 1 et seq., mandates that the
  14   ADR Procedure is to be enforced according to its terms. Rent–A–Center, West, Inc.
  15   v. Jackson, 130 S.Ct. 2772, 2776 (2010). Accordingly, GE Betz requests that the
  16   Court order Plaintiff to comply with the ADR Procedure and submit his claims to
  17   binding arbitration in lieu of further proceedings in this Court.
  18   II.      STATEMENT OF FACTS
  19            A.    GE Betz’s Business
  20            Plaintiff described GE Betz in his Complaint as: “in the business of providing
  21   water treatment services to industry, including providing water treatment services to
  22   the water used at PG&E’s operations at the Diablo Canyon Nuclear Power Plant in
  23   Avila Beach, California . . . and providing water treatment services to Phillips 66 at
  24   the Phillips 66 Santa Maria Oil Refinery.” (Complaint, ¶ 10.)
  25            B.    The 2010 ADR Procedure
  26            The 2010 ADR Procedure provides in relevant part that:
  27            Overview:
  28                  [The Procedure] is a structured dispute resolution procedure
                                             1        Case No. 2:16-cv-01356-FMO-JCx
             DEFENDANT GE BETZ, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                        SUPPORT OF MOTION TO COMPEL ARBITRATION
Case 2:16-cv-01356-FMO-JC Document 14-1 Filed 05/10/16 Page 3 of 9 Page ID #:108



   1             that consists of two internal levels of review followed by, if
                 necessary and applicable, outside mediation (Level III) and
   2             arbitration (Level IV). . . The levels of Solutions are in a logical
   3             sequence, and employees must complete each level of the
                 process before proceeding to the next level.
   4
           Levels I, II and III:
   5             At Levels I and II, an employee and the management team meet
                 in an attempt to address the employee’s concern. If the
   6             employee is not satisfied with the outcome of Levels I and II,
                 and the concern is a Covered Claim, the employee may submit
   7
                 the claim to Level III. Similarly, if the Company has a Covered
   8             Claim against an employee, it would be submitted initially at
                 Level III. At Level III, an external mediator helps the
   9             employee and the Company open lines of communication in an
                 attempt to facilitate resolution.
  10
           Level IV – Arbitration:
  11             If there is no resolution at Level III and the party wishes to
  12             pursue the concern, the next step is Level IV arbitration. At
                 Level IV, an external arbitrator provides the employee and the
  13             Company with a binding decision on the merits of the Covered
                 Claim(s). Both mediation and arbitration under Levels III and
  14             IV will be administered by a nationally recognized dispute
                 resolution organization (‘DRO’). Employees may obtain
  15
                 information regarding which DRO has been designated to
  16             handle proceedings at Level III and IV and the DRO’s rules
                 governing such proceedings from the Solutions Administrator
  17             or the local HR manager.
  18       Covered Claims:
                Covered Claims include all claims that arise out of or are
  19            related to an employee’s employment or cessation of
  20            employment (whether asserted by or against the Company),
                where a court or agency in the jurisdiction in question would
  21            otherwise have the authority to hear and resolve the claim under
                any federal, state or local (e.g. municipal or county) statute,
  22            regulation or common law.
  23       Discovery:
                Either party may seek from the other party discovery of the
  24
                types described below to the extent relevant to claims or
  25            defenses before the arbitrator. The arbitrator shall have the
                authority to modify the discovery guidelines . . . in
  26            consideration of the interests of simplicity and expedition of
                arbitration balanced against value of the information in
  27            establishing a claim or defense.
  28
                                        2        Case No. 2:16-cv-01356-FMO-JCx
        DEFENDANT GE BETZ, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                   SUPPORT OF MOTION TO COMPEL ARBITRATION
Case 2:16-cv-01356-FMO-JC Document 14-1 Filed 05/10/16 Page 4 of 9 Page ID #:109



   1         Scope of Award:
                  The arbitrator shall interpret and apply the law of remedies of
   2
                  the state or the federal circuit, or both, in which the claim arose,
   3              or the applicable law pursuant to any contractual agreement.
                  Except as provided by this procedure . . . , the arbitrator may
   4              grant any remedy or relief that would have been available had
                  the claim been asserted in court.
   5

   6   (Declaration of Jennifer Kozak in Support of Motion to Compel Arbitration [“Kozak
   7   Decl.”], Exhibit B.)
   8         C.    The 2015 ADR Procedure
   9         On November 1, 2015, the Company made further amendments to the ADR
  10   Procedure to make it more user-friendly for employees. Among other things, the
  11   2015 amendments added reference to Executive Order 13673 to the description of
  12   Excluded Claims; modified the selection process for mediators and arbitrators to
  13   increase the likelihood that the selection would be by mutual agreement of the
  14   employee and the Company rather than by the DRO that administers these processes;
  15   and clarified that employees can discuss the substance of their covered claims with
  16   colleagues. (Kozak Decl., Exhibits F-G.)
  17         D.    Plaintiff’s Employment with GE Betz
  18         Plaintiff currently works at GE Betz as a Field Service Representative in Avila
  19   Beach, California. On January 9, 2011, Plaintiff expressly acknowledged that he
  20   reviewed the 2010 version of the ADR Procedure and agreed to be bound by its
  21   terms. (Kozak Decl., Exhibit C.)
  22         In November 2015, the Company amended the ADR Procedure to make it
  23   more user-friendly. (See infra, Section II(C).) The Company gave employees
  24   numerous opportunities to review and acknowledge the 2015 amendments prior to
  25   implementing them, but advised employees: “The modifications will go into effect
  26   on November 1, 2015, whether or not you have formally acknowledged.” (Kozak
  27   Decl., Exhibits D-E.)
  28   ///
                                         3        Case No. 2:16-cv-01356-FMO-JCx
         DEFENDANT GE BETZ, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                    SUPPORT OF MOTION TO COMPEL ARBITRATION
Case 2:16-cv-01356-FMO-JC Document 14-1 Filed 05/10/16 Page 5 of 9 Page ID #:110



   1         E.     Plaintiff Filed this Lawsuit in Violation of the ADR Procedure
   2         In disregard of his agreement to be bound by the ADR Procedure, Plaintiff
   3   initiated this lawsuit against the Company by filing a court action on January 25,
   4   2016. His Complaint asserts nine claims for relief against the Company alleging
   5   violations of the California Labor Code, Industrial Welfare Commission (“IWC”)
   6   Wage Orders and the Fair Labor Standards Act. (See Complaint, docket # 1-1.)
   7   Plaintiff’s claims all arise out of his employment with the Company, and therefore
   8   are subject to the ADR Procedure.
   9         F.     GE Betz’s Demand for Arbitration and Meet and Confer Efforts
  10         On March 8, 2016, the Company’s counsel contacted Plaintiff’s counsel to
  11   meet and confer regarding the substance of this motion. The Company’s counsel
  12   explained that Plaintiff’s claims are subject to an arbitration agreement and requested
  13   that he dismiss his state court action and resolve his claims through the Company’s
  14   ADR Procedure. (Declaration of Rachel J. Moroski [“Moroski Decl.”], Exhibit A.)
  15         On March 16, 2016, the Company’s counsel and Plaintiff’s counsel discussed
  16   the substance of the anticipated motion to compel arbitration by telephone.
  17   Plaintiff’s counsel advised the Company’s counsel that he would consider submitting
  18   Plaintiff’s claims to arbitration if the Company produced Plaintiff’s acknowledgment
  19   of the ADR Procedure. (Moroski Decl., ¶ 3.)
  20         On March 25, 2016, the Company produced Plaintiff’s acknowledgment of the
  21   2010 ADR Procedure. The acknowledgment demonstrates that Plaintiff received the
  22   Company’s procedures governing arbitration and agreed to be bound by them. The
  23   Company’s counsel advised Plaintiff’s counsel that, absent a stipulation, the
  24   Company would file a motion to compel arbitration in compliance with Central
  25   District Local Rule 7-3. (Moroski Decl., Exhibit B.)
  26         As of the date of the filing of this motion, Plaintiff’s counsel has not advised
  27   the Company whether he will stipulate to submit Plaintiff’s claims to arbitration.
  28   Accordingly, Defendant had no choice but to file this motion.
                                         4        Case No. 2:16-cv-01356-FMO-JCx
         DEFENDANT GE BETZ, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                    SUPPORT OF MOTION TO COMPEL ARBITRATION
Case 2:16-cv-01356-FMO-JC Document 14-1 Filed 05/10/16 Page 6 of 9 Page ID #:111



   1   III.   ARGUMENT
   2          A.    Plaintiff’s Claims Are Subject to a Binding Arbitration Agreement
                    and He Must be Compelled to Arbitrate Them.
   3

   4          Plaintiff expressly agreed to be bound by the 2010 ADR Procedure, which
   5   required him to submit his claims to arbitration. While Plaintiff did not formally
   6   acknowledge the 2015 amendments to the ADR procedure, he implicitly agreed to be
   7   bound by it because the Company provided him with the 2015 amendments and
   8   advised him that they would take effect regardless of whether he formally
   9   acknowledged them.
  10          The ADR Procedure is valid and enforceable, either pursuant to the 2015
  11   amendments that Plaintiff implicitly acknowledged, or in the alternative, but the
  12   2010 policy that Plaintiff expressly acknowledged. In either circumstance, Plaintiff
  13   must be compelled to arbitration.
  14                1.    The Federal Arbitration Act Mandates Enforcement of the
  15                      Arbitration Agreement in the ADR Procedures.

  16          The applicable law for determining whether this case should be sent to
  17   arbitration is the FAA, supra, 9 U.S.C. § 1, et seq. Aviation Data, Inc. v. American
  18   Express Travel Related Services Company, Inc., 152 Cal. App. 4th 1522, 1534-35
  19   (2007). The FAA governs the validity of arbitration agreements and evinces a strong
  20   federal policy favoring arbitration. AT&T Mobility LLC v. Concepcion, 131 S. Ct.
  21   1740, 1745 (2011); see also Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp.,
  22   460 U.S. 1, 24 (1983) (“Section 2 [of the FAA] is a congressional declaration of a
  23   liberal federal policy favoring arbitration agreements”); In re Thorpe Insulation Co.,
  24   671 F.3d 1011, 1020 (9th Cir. 2012). Under the FAA, courts must compel
  25   arbitration in disputes covered by a legally binding arbitration agreement. Reynolds,
  26   Inc. v. Byrd, 470 U.S. 213, 218 (1985). Courts must resolve any doubts concerning
  27   arbitrability in favor of arbitration. Moses, 460 U.S. at 24-25.
  28
                                          5        Case No. 2:16-cv-01356-FMO-JCx
          DEFENDANT GE BETZ, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                     SUPPORT OF MOTION TO COMPEL ARBITRATION
Case 2:16-cv-01356-FMO-JC Document 14-1 Filed 05/10/16 Page 7 of 9 Page ID #:112



   1         In deciding whether to compel arbitration under the FAA, a court’s role is
   2   limited to: “determining (1) whether a valid agreement to arbitrate exists and, if it
   3   does, (2) whether the agreement encompasses the dispute at issue.” Cox v. Ocean
   4   View Hotel Corp., 533 F.3d 1114, 1119 (9th Cir. 2008) (internal quotation marks
   5   omitted). Here, GE Betz has a valid and enforceable ADR Procedure to which
   6   Plaintiff agreed to be bound. His claims are covered by the ADR Procedure, so he
   7   must be compelled to arbitrate them in lieu of proceeding in this Court.
   8                2.     Plaintiff’s Electronic Signature is Legally Binding.
   9         Under both federal and California law, Plaintiff’s electronic signature on the
  10   2010 ADR Procedure has the same force and effect as a hand-written signature.
  11   Both federal and California law provide that agreements may not be denied legal
  12   effect because they are in electronic form or have electronic signatures. 16 U.S.C. §
  13   7001(a) provides that “a signature, contract or other record” relating to a transaction
  14   in or affecting interstate commerce “may not be denied legal effect, validity, or
  15   enforceability solely because it is in electronic form.” 15 U.S.C. section 7001(a)(1).
  16   With respect to electronic signatures, the statute provides that “a contract relating to
  17   such transaction may not be denied legal effect, validity, or enforceability solely
  18   because an electronic signature or electronic record was used in its formation. Id. at
  19   § 7001(a)(2).
  20         Similarly, California Civil Code section 1633.7 provides in relevant part that
  21   “[a] record or signature may not be denied legal effect or enforceability solely
  22   because it is in electronic form,” and that “[a] contract may not be denied legal effect
  23   or enforceability solely because an electronic record was used in its formation.” CIV.
  24   CODE § 1633.7(a)-(b); see Chau v. EMC Corp., No. C-18-04806-RMW, 2014 WL
  25   842579, *4 (N.D. Cal. Feb. 28, 2014) (finding that an employee’s electronic
  26   signature on an employment agreement with an arbitration provision was valid where
  27   the employee checked “yes” in acknowledging that an electronic signature is as valid
  28   as a signature by hand); Tagliabue v. J.C. Penney Corp., No. 1:15-cv-01443-SAB,
                                         6        Case No. 2:16-cv-01356-FMO-JCx
         DEFENDANT GE BETZ, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                    SUPPORT OF MOTION TO COMPEL ARBITRATION
Case 2:16-cv-01356-FMO-JC Document 14-1 Filed 05/10/16 Page 8 of 9 Page ID #:113



   1   2015 WL 8780577, at **2-3 (E.D. Cal. Dec. 15, 2015) (declaration of human
   2   resources employee sufficient to authenticate electronic signature).
   3                3.     The ADR Procedure Provides a Fair Process for Resolving
   4                       Plaintiff’s Claims Through Arbitration.

   5         Plaintiff has no basis for refusing to submit his claims to arbitration, because
   6   he expressly agreed to be bound by the 2010 ADR Procedure and implicitly agreed
   7   to be bound by the 2015 amendments to the ADR Procedure. Craig v. Brown &
   8   Root, Inc., 84 Cal.App.4th 416, 421-422 (employee’s consent may be implied from
   9   his continued employment after the unilateral imposition of an arbitration agreement
  10   by the employer). The ADR Procedure (both the 2010 policy and the 2015
  11   amendments) provides fair processes for resolving Plaintiff’s claims. (Kozak Decl.,
  12   Exhibits B, F-G.)
  13         The ADR Procedure provides for resolution before a DRO such as the
  14   American Arbitration Association (“AAA”), with GE Betz paying all fees and
  15   expenses unique to the arbitration, including Plaintiff’s time spent arbitrating his
  16   claims. The Procedure affords the employee sufficient discovery to pursue his or her
  17   claims and affords the arbitrator the same power and authority as a court to grant any
  18   remedy or relief that would have been available had the claim been asserted in court.
  19   (Kozak Decl., Exhibits B, F-G.)
  20         In light of the foregoing, GE Betz respectfully requests that the Court compel
  21   Plaintiff to submit his claims for resolution in accordance with the ADR Procedures.
  22   IV.   CONCLUSION
  23         For each of the above reasons, GE Betz respectfully requests that the Court
  24   ///
  25   ///
  26   ///
  27   ///
  28   ///
                                         7        Case No. 2:16-cv-01356-FMO-JCx
         DEFENDANT GE BETZ, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                    SUPPORT OF MOTION TO COMPEL ARBITRATION
Case 2:16-cv-01356-FMO-JC Document 14-1 Filed 05/10/16 Page 9 of 9 Page ID #:114



   1   dismiss Plaintiff’s claims and compel Plaintiff to submit them to arbitration in
   2   compliance with the ADR Procedure.
   3   DATED: May 10, 2016                    OGLETREE, DEAKINS, NASH, SMOAK &
                                              STEWART, P.C.
   4

   5
                                              By: /s/ Rachel J. Moroski
   6                                              MICHAEL N. WESTHEIMER
                                                  RACHEL J. MOROSKI
   7
                                                  Attorneys for Defendant
   8                                              GE BETZ, INC.
   9

  10                                                                                  24019681.1

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                         8        Case No. 2:16-cv-01356-FMO-JCx
         DEFENDANT GE BETZ, INC.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
                    SUPPORT OF MOTION TO COMPEL ARBITRATION
